Case 2:09-cv-06244-WJM-MF      Document 26-1    Filed 03/29/10   Page 1 of 1 PageID: 276




                           CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on March 29, 2010, a true and correct

  copy of Plaintiffs’ Amended Brief in Opposition to Defendants’ Motion to

  Compel Arbitration or, in the Alternative Dismiss the Complaint has been duly

  served on the following counsel for Defendants, via the electronic filing system.

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                                                     /s/ Eric Poe          .
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